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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                            Case No.: 8:19-cv-1895-T-36-CPT

 WYNDHAM VACATION OWNERSHIP,
 INC. a Delaware corporation; WYNDHAM
 VACATION RESORTS, INC., a Delaware
 corporation,     WYNDHAM           RESORT
 DEVELOPMENT CORPORATION; a
 Oregon          Corporation;        SHELL
 VACATIONS, LLC, an Arizona limited
 liability company; SVC-WEST, LLC, a
 California limited liability company; SVS-
 AMERICANA, LLC, an Arizona limited
 liability company; and SVC-HAWAII,
 LLC, a Hawaii limited liability company,

        Plaintiffs,                                PLAINTIFFS’ RESPONSE IN
                                                  OPPOSITION TO ATTORNEYS
 v.                                              COLEMAN WATSON AND LEIA
                                               LEITNER’S MOTION TO WITHDRAW
 THE MONTGOMERY LAW FIRM, LLC,                AND INCORPORATED MEMORANDUM
 a Missouri limited liability company;                     OF LAW
 MONTGOMERY & NEWCOMB, LLC, a
 Missouri limited liability company; M.
 SCOTT MONTGOMERY, ESQ., an
 individual; W. TODD NEWCOMB, ESQ.,
 an individual; CLS, INC. d/b/a ATLAS
 VACATION REMEDIES and also d/b/a
 PRINCIPAL TRANSFER GROUP, a
 Missouri corporation; ATLAS VACATION
 REMEDIES, LLC, a Missouri limited
 liability company; PRINCIPAL TRANFER
 GROUP, LLC, a Missouri limited liability
 company; DONNELLY SNELLEN, an
 individual; JASON LEVI HEMINGWAY,
 an individual; MUTUAL RELEASE
 CORPORATION a/k/a 417 MRC LLC, a
 Missouri limited liability company; DAN
 CHUDY, an individual; MATTHEW
 TUCKER, an individual; and CATALYST
 CONSULTING FIRM LLC, a Missouri
 limited liability company,

        Defendants.
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        Plaintiffs, Wyndham Vacation Ownership, Inc., a Delaware corporation; Wyndham

 Vacation Resorts, Inc., a Delaware corporation; Wyndham Resort Development Corporation, an

 Oregon Corporation; Shell Vacations, LLC, an Arizona limited liability company; SVC-WEST,

 LLC, a California limited liability company; SVS-Americana, LLC, an Arizona limited liability

 company; and SVC-Hawaii, LLC, a Hawaii limited liability company (collectively, “Plaintiffs”

 or “Wyndham”), file this response in opposition to the Motion to Withdraw (“Motion”) [Doc.

 264] filed by Coleman Watson, Esq. (“Watson”) and Leia Leitner, Esq. (“Leitner”) (together

 “Attorneys”). To explain, Plaintiffs do not object to the Attorneys being ultimately relieved as

 counsel of record in this case, but with important caveats. The circumstances dictate that prior to

 being relieved of their obligations herein, new Florida counsel should be substituted in for the

 Attorneys, and, further, that the pro hac vice admission of Robert Ward, Esq., which pro hac vice

 admission is currently under scrutiny by this Court, on its own initiative, with this Court having

 determined that Mr. Ward’s “behavior [i]s discourteous, uncivil, and undignified” (Doc. 249 at

 3), be revoked. Wyndham states:

                                         BACKGROUND

        The Attorney’s Motion seeks leave to withdraw as counsel for M. Scott Montgomery, W.

 Todd Newcomb, The Montgomery Law Firm, Montgomery & Newcomb, LLC, and Donnelly

 Snellen (“Defendants”). Each of these parties is also represented by Mr. Ward.1 Mr. Ward is not

 admitted to practice in this Court, but sought and was granted permission to appear pro hac vice.

 Docs. 24, 26. To date, the Attorneys have acted as the resident attorney for Mr. Ward. See also

 Motion of Robert Ward, Esq. to Appear Pro Hac Vice and Written Designation and Consent of

 Local Counsel to Act (Doc. 24) ¶ 7. Admittedly, Mr. Ward has been lead counsel for Defendants

        1
         Newcomb is also represented by Michael Kiernan, Esq. and Heather Fleming, Esq.
 Docs. 154, 200.


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 and has actually been the drafter of oftentimes incoherent and non-sensical written submissions

 to this Court and spearheaded the discovery misconduct which has resulted in sanctions. Under

 these circumstances, it is imperative that not only Mr. Ward’s pro hac be revoked, but that the

 Court require Florida counsel to be substituted in for the Attorneys prior to permitting them to

 withdraw from the case.

                                           ARGUMENT

        As an initial matter, if the Court grants the Motion and allows the Attorneys to withdraw,

 Mr. Ward will no longer be compliant with Local Rule 2.02, which requires that any non-

 resident attorney be associated with a “resident in Florida, upon whom all notices and papers

 may be served and who will be responsible for the progress of the case, including the trial in

 default of the non-resident attorney.”

        Nevertheless, even if the Attorneys are not permitted to withdraw, the Court should still

 proceed with revoking Mr. Ward’s pro hac vice admission, which it currently has under

 consideration. On February 21, 2019, the Court already issued an order requiring Mr. Ward to

 show cause why his pro hac vice admission should not be revoked.           See Order (Doc. 249)

 (“Show Cause Order”). There is ample basis to revoke Mr. Ward’s pro hac vice admission based

 on the conduct discussed in the Show Cause Order. As the Court explained in the Show Cause

 Order, Mr. Ward disrobed at the Sam M. Gibbons United States Courthouse on January 30, 2020

 and “demonstrated a lack of respect for the legal system and those who serve it,” and “failed to

 uphold the honor and dignity of the profession.” See id. at 3.

        Unfortunately, Mr. Ward’s “lack of respect for the legal system” has not been limited to

 the January 30 event. Mr. Ward has exhibited improvident discovery misconduct throughout this

 litigation, which this Court has addressed by twice issuing sanctions against him. The Court first




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 awarded sanctions because Mr. Ward frivolously attempted to assert that the entirety of five

 depositions and the corresponding exhibits were confidential. See Doc. 90. The Court issued a

 second sanction award against Mr. Ward’s clients because they failed to produce documents as

 ordered without any good cause for the delay. See Doc. 129.

        Despite those sanctions awards, Mr. Ward has continued to delay discovery and has

 blatantly misrepresented facts to the Court. On October 29, 2019, the Court held a discovery

 hearing to address certain boiler-plate objections that Mr. Ward prepared on behalf of his

 clients.2 During the hearing, Mr. Ward’s clients essentially withdrew all of the objections and

 agreed to produce responsive documents. Despite the agreement, Mr. Ward’s clients did not

 produce the documents, so on December 6, 2019, Plaintiffs filed their Motion to Compel [the

 Montgomery Defendants] to Comply with their October 29 Agreements. Doc. 217 (“December

 Motion to Compel”). Mr. Ward filed a response to the December Motion to Compel and

 misrepresented to this Court that his clients had “fully responded” to the discovery at issue. Doc.

 228 at 1. Mr. Ward’s blatant and obvious misrepresentation caused Plaintiffs to incur the

 unnecessary expense of filing a reply to correct the record. Doc. 235.

        The Court held a hearing on the December Motion to Compel, as well as other matters,

 on January 30, 2020 (when Mr. Ward elected to disrobe). Doc. 239. The Court then ordered Mr.

 Ward’s clients to produce the remaining discovery by February 14, 2020. Doc. 244 ¶ 8. As of

 the date of this response, Plaintiffs still have not received all of the required documents.

 Notably, it appears that Mr. Ward is doing nothing to expedite the discovery process, but is

 instead relying Michael Kiernan, Esq. and Heather Fleming, Esq., who were retained by Todd




        2
            Copies of the objections are attached to Plaintiff’s Motion to Compel. Doc. 127


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 Newcomb’s insurance carrier on behalf of Newcomb only, to handle the discovery process for

 Mr. Ward’s other clients.

        Plaintiffs concur with the Court’s finding that that Mr. Ward’s “behavior [i]s

 discourteous, uncivil, and undignified.” Doc. 249 at 3. Accordingly, Mr. Ward’s pro hac

 admission should be revoked.

        Finally, and as previously expressed, given the case posture and ongoing open discovery

 and other litigation issues in this case, much of which the Court is aware through motion practice

 and hearing, to the extent the Court is inclined to ultimately relieve the Attorneys of their

 obligations in this matter, it should require that the Attorneys be replaced by Florida counsel

 before permitting the Attorneys to formally withdraw.

        WHEREFORE, Plaintiffs respectfully request the Court require that Coleman Watson,

 Esq. and Leia Leitner, Esq. only be permitted to withdraw after new Florida counsel is

 substituted for Attorneys and revoke Mr. Ward’s pro hac vice admission and grant any such

 further relief as the Court deems just and proper.

        Dated: April 13, 2020

                                                      /s/ Glennys Ortega Rubin
                                                      GLENNYS ORTEGA RUBIN, ESQ.
                                                      Florida Bar No. 556361
                                                      grubin@shutts.com
                                                      ALFRED J. BENNINGTON, JR., ESQ.
                                                      Florida Bar No. 0404985
                                                      bbennington@shutts.com
                                                      SHUTTS & BOWEN LLP
                                                      300 South Orange Avenue, Suite 1600
                                                      Orlando, Florida 32801
                                                      Telephone: (407) 835-6755
                                                      Facsimile: (407) 849-7255

                                                      and




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                                                  JONATHAN P. HART, ESQ.
                                                  Florida Bar No. 55982
                                                  jhart@shutts.com
                                                  SHUTTS & BOWEN LLP
                                                  525 Okeechobee Boulevard, Suite 1100
                                                  West Palm Beach, FL 33401
                                                  Telephone: (561) 835-8500
                                                  Facsimile: (561) 650-8530

                                                  Attorneys for Plaintiffs

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 13th day of April, 2020, the foregoing was

 electronically filed with the Clerk of the Court using the Court’s CM/ECF System, which will

 send a notification of filing via electronic mail on all counsel or parties of record authorized to

 receive electronic notifications and via U.S. Mail to certain Defendants as set forth below:


 David Steinfeld, Esq.                             David Anthony Wilson, Esquire
 Law Office of David Steinfeld, P.L.               201 S.W. 2ndStreet, #101
 3801 PGA Blvd., Suite 600                         Ocala, Florida 34771
 Palm Beach Gardens, FL 33410                      Telephone: (352) 629-4466
 Telephone: 561-316-7905                           Facsimile: (352) 732-6469
 Facsimile: 561-828-7637                           Email: david@dwilsonlaw.com
 Email: dave@davidsteinfeld.com
                                                   Attorney for Defendants Dan Chudy
 Attorney for Defendant, Catalyst Consulting
 Firm, LLC




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 Ashley R. Kellgren, Esq.                      Coleman W. Watson, Esq.
 Email: akellgren@traublieberman.com           Leia V. Leitner, Esq.
 Michael K. Kiernan, Esq.                      Watson LLP
 Email: ServiceMKiernan@traublieberman.com     189 S. Orange Avenue
 Traub Lieberman Straus & Shrewsberry, LLP     Suite 810
 P.O. Box 3942                                 Orlando, Florida 32801
 St. Petersburg, FL 33731                      Telephone: 407-377-6634
 Telephone: (727) 898-8100                     Facsimile: 407-377-6688
 Facsimile: (727) 895-4838                     Email: coleman@watsonllp.com
                                               Email: leia@watsonllp.com
 Attorney for Defendant, W. Todd Newcomb,
 Esq.                                          Robert M. Ward, Esq.
                                               BMW IP Law
                                               3455 Peachtree Road NE, Floor 5
                                               Atlanta, GA 30326
                                               404-606-6480
                                               Email: rward@bmwiplaw.com
                                               Attorneys for Defendants, The Montgomery
                                               Law Firm; LLC, Montgomery & Newcomb,
                                               LLC; M. Scott Montgomery, Esq.; W. Todd
                                               Newcomb, Esq.; and Donnelly Snellen

                                               MUTUAL RELEASE CORPORATION a/k/a
                                               417 MRC LLC
                                               2000 W. Murray Drive
                                               Springfield, MO 65810
                                               VIA U.S. MAIL, per Court Order

 Matthew Tucker                                Jason Levi Hemingway
 2000 W. Murray Drive                          Principal Transfer Group, LLC
 Springfield, MO 65810                         CLS, Inc.
 VIA U.S. MAIL, per Court Order                Atlas Vacation Remedies, LLC
                                               901 E. St. Louis St., Suite 1201
                                               Springfield, MO 65806
                                               Via U.S. MAIL

                                               CLS, Inc.
                                               708 Missouri Blvd.
                                               Jefferson City, MO 65109
                                               Via U.S. MAIL


                                            /s/ Glennys Ortega Rubin
                                            GLENNYS ORTEGA RUBIN, ESQ.


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